      Case 3:23-cv-00544-DPJ-ASH Document 77 Filed 03/01/24 Page 1 of 9
                                                                         UNITED STATES DISTRICT COURT
                                                                        SOUTHERN DISTRICT OF MISSISSIPPI


                                                                                FILE D
                  IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF MISSISSIPPI                         Mar 01 2024
                             Northern Division                            ARTHUR JOHNSTON, CLERK



                            ORDER TO REASSIGN CASES

      IN ORDER TO equitably manage and distribute the caseload of the court in

light of the retirement of United States Magistrate Judge F. Keith Ball, pursuant to

the authority of the court as set forth in Section IV of Internal Rule 1 as amended

effective March 1, 2024, the court finds that each of the cases listed on the attached

Exhibits A and B should be and they are hereby reassigned from United States

Magistrate Judge F. Keith Ball to United States Magistrate Judge Andrew S.

Harris.

      Any matters which have been scheduled in these cases before Judge

Ball may be rescheduled and noticed by Judge Harris as necessary.

However, unless otherwise ordered, all existing scheduling orders and

deadlines will remain in full force and effect.

      SO ORDERED, this the 1st day of March 2024.



                                        ____________________________________
                                        DANIEL P. JORDAN III
                                        CHIEF U. S. DISTRICT JUDGE
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                          Exhibit A
Case                     Short Style
3:11-cv-00136-DPJ-FKB    Wise v. Shinseki
3:15-cv-00767-DPJ-FKB    United States of America et al v. Jackson HMA LLC et al
3:16-cv-00246-CWR-FKB    Jackson Municipal Airport Authority, et al. v. Reeves, et al.
3:18-cv-00138-DPJ-FKB    Doe v. The University of Mississippi et al
3:18-cv-00188-DPJ-FKB    Hopkins et al v. Hosemann
3:19-mc-00644-DPJ-FKB    Quality Energy Services, Inc. v. Performance Drilling Company, LLC
3:20-cv-00290-CWR-FKB    McCullough v. Preferred Care Develop. and Canton Manor Develop. Cntr
3:20-cv-00415-DPJ-FKB    USA v.115 Rosedowne Bend Madison, MS 39110
3:20-cv-00483-CWR-FKB    Haimur et al v. Allstate Property and Casualty Insurance Company
3:20-cv-00785-DPJ-FKB    Williams et al v. The City of Jackson et al
3:20-cv-00789-CWR-FKB    Slaughter v. Dobbs
3:20-mc-00770-DPJ-FKB    United States of America v. In Re: Gentiva Health Services, Inc.
3:21-cv-00008-DPJ-FKB    Sealed Plaintiff v. Sealed Defendant
3:21-cv-00030-CWR-FKB    Jones v. Sanders et al
3:21-cv-00201-DPJ-FKB    Doe v. University of Mississippi et al
3:21-cv-00305-DPJ-FKB    Vann v. The City of Meridian Mississippi et al
3:21-cv-00376-KHJ-FKB    Falcon v. Cain
3:21-cv-00561-DPJ-FKB    Sealed Plaintiff v. Sealed Defendant
3:21-cv-00718-CWR-FKB    Harrington v. Busby et al
3:21-cv-00721-HTW-FKB    Island Farms, LLC et al v. UMB Bank, N.A.
3:21-cv-00771-DPJ-FKB    Sealed Plaintiff v. Sealed Defendant
3:21-cv-00786-DPJ-FKB    Neeley et al v. Great Escapes Pelahatchie, LP
3:21-cv-00810-CWR-FKB    Atkins v. McGuire et al
3:21-cv-00817-DPJ-FKB    Pritchett et al v. Great Escapes Pelahatchie, LP et al
3:21-cv-00825-DPJ-FKB    Murphy et al v. Allstate Vehicle and Property Ins. Co., et al
3:22-cv-00003-DPJ-FKB    Steward v. Withers
3:22-cv-00043-DPJ-FKB    Sealed Plaintiff v. Sealed Defendant
3:22-cv-00107-CWR-FKB    McCullum v. Turner et al
3:22-cv-00177-CWR-FKB    Gold Coast Commodities, Inc. v. Acadia Insurance Company
3:22-cv-00208-CWR-FKB    Phi Theta Kappa Honor Society v. HonorSociety.Org., Inc. et al
3:22-cv-00228-CWR-FKB    Gold Coast Commodities, Inc. v. Crum & Forster Specialty Ins. Co.
3:22-cv-00268-CWR-FKB    Griffin v. Meridian Public School District et al
3:22-cv-00357-HTW-FKB    Thomas et al v. The City of Raymond, Mississippi et al
3:22-cv-00363-HTW-FKB    Reyes et al v. Reyes et al
3:22-cv-00401-CWR-FKB    Walker v. Greater Jackson Mortuary/The Heritage Group
3:22-cv-00404-DPJ-FKB    United States of America v. &#036;76,402.00 U.S. Currency
3:22-cv-00406-HTW-FKB    Reyes v. The United States Department of Justice et al
3:22-cv-00418-CWR-FKB    United States of America v. 2021 Infiniti Q60 et al
3:22-cv-00433-DPJ-FKB    Banks v. Lakeland Nursing and Rehabilitation Center, LLC et al
3:22-cv-00437-CWR-FKB    Pittman v. Mississippi Department of Corrections (MDOC) et al
3:22-cv-00441-CWR-FKB    Hopson v. Safeway Insurance Company et al
3:22-cv-00494-DPJ-FKB    Love v. Hinds County, Mississippi
3:22-cv-00501-DPJ-FKB    Patrick v. State of Mississippi et al
3:22-cv-00508-DPJ-FKB    Palmer v. Jefferson et al
3:22-cv-00512-DPJ-FKB    Sealed Plaintiff v. Sealed Defendant
3:22-cv-00551-DPJ-FKB    Chambers v. Rice et al
3:22-cv-00554-CWR-FKB    Reed v. City of Clinton, Mississippi
3:22-cv-00575-DPJ-FKB    Walker v. Boulet
3:22-cv-00609-DPJ-FKB    Berkadia Commercial Mortgage LLC v. Kenneth Love
3:22-cv-00614-DPJ-FKB    Siders v. City of Brandon, Mississippi
3:22-cv-00623-CWR-FKB    Estate of Richard Callahan et al v. United States of America et al
3:22-cv-00643-DPJ-FKB    Cook v. Hinds County Board of Supervisors et al
3:22-cv-00648-DPJ-FKB    Mosley v. Reiser et al
              Case 3:23-cv-00544-DPJ-ASH Document 77 Filed 03/01/24 Page 3 of 9


3:22-cv-00658-DPJ-FKB       Vann v. City of Meridian, Mississippi et al
3:22-cv-00659-HTW-FKB       Denson v. Methodist Rehabilitation Center
3:22-cv-00683-DPJ-FKB       Long et al v. Kroger Limited Partnership I et al
3:22-cv-00689-CWR-FKB       Haskin v. Wal-Mart Stores East, LP et al
3:22-cv-00706-DPJ-FKB       Crisler v. The Kroger Co. et al
3:22-cv-00728-DPJ-FKB       King v. Hinds County, Mississippi et al
3:22-cv-00733-DPJ-FKB        Jones-Lewis v. Delta Marketing Group, LLC et al
3:22-cv-00734-DPJ-HSO-LHS   NAACP et al v. State Board of Elect. Comm's. et al
3:23-cv-00003-DPJ-FKB       Patterson v. United States of America
3:23-cv-00005-HTW-FKB       Turner et al v. UMB Bank, N.A. et al
3:23-cv-00010-CWR-FKB       Tribal Solutions Group, LLC et al v. Valandra et al
3:23-cv-00023-HTW-FKB        Jones v. Henderson et al
3:23-cv-00029-CWR-FKB       Bernard v. Golbert
3:23-cv-00040-FKB           Irvine v. McCarter et al
3:23-cv-00053-DPJ-FKB       Hill v. Walmart Stores East, LP et al
3:23-cv-00055-CWR-FKB       Bullock v. D and A Interest, LLC
3:23-cv-00085-DPJ-FKB       Brasfield & Gorrie, L.L.C. v. The Hanover Insurance Company
3:23-cv-00087-DPJ-FKB       Johnson Milling Co., LLC v. The Kansas City So. Railway Co.et al
3:23-cv-00092-TSL-FKB       Davis v. Zhixing et al
3:23-cv-00094-DPJ-FKB       Bradford v. United States Federal Government
3:23-cv-00098-CWR-FKB       Gray v. Mississippi Department of Corrections
3:23-cv-00100-DPJ-FKB       Cooper et al v. State Farm Fire and Casualty Company, et al
3:23-cv-00105-DPJ-FKB       Demus v. City of Gulfport, MS et al
3:23-cv-00111-DPJ-FKB       Scott v. Colbert
3:23-cv-00117-DPJ-FKB       Marshall v. Jackson et al
3:23-cv-00126-CWR-FKB       Green v. City of Jackson, Mississippi et al
3:23-cv-00127-DPJ-FKB       Brown et al
3:23-cv-00148-CWR-FKB       Owens v. New Progressions of Mississippi LLC
3:23-cv-00189-HTW-FKB       Lidell v. Warden, Central Mississippi Correctional Facility
3:23-cv-00206-DPJ-FKB       Richmond v. Warden Coibert
3:23-cv-00219-CWR-FKB       Davis v. Lyles et al
3:23-cv-00224-DPJ-FKB       Jackson v. State of Mississippi et al
3:23-cv-00233-DPJ-FKB       Mackey v. Pigott et al
3:23-cv-00235-DPJ-FKB       Ramos v. Hartford Accident and Indemnity Company et al
3:23-cv-00240-DPJ-FKB       Peake v. Colbert et al.
3:23-cv-00248-DPJ-FKB       Passmore v. Colburt
3:23-cv-00254-DPJ-FKB       Knox v. Davis
3:23-cv-00258-DPJ-FKB       Vanderlan v. Jackson HMA LLC
3:23-cv-00260-DPJ-FKB       Lee v. Vital Core Medical et al
3:23-cv-00266-DPJ-FKB       Cockhill et al v. Cole et al
3:23-cv-00267-DPJ-FKB       Arnold et al v. Willis et al
3:23-cv-00290-CWR-FKB       Leggett v. Populus Group, LLC et al
3:23-cv-00293-CWR-FKB       Jones v. Sollie
3:23-cv-00298-DPJ-FKB       Gibson v. Vitalcore Health Strategies, LLC
3:23-cv-00311-DPJ-FKB       Marcum v. Sollie
3:23-cv-00314-CWR-FKB       Smith v. Blue Cross and Blue Shield of Alabama et al
3:23-cv-00327-CWR-FKB       Hayes v. The City of Magee, Mississippi et al
3:23-cv-00337-CWR-FKB       Leach v. Kansas City Southern Railway Co.
3:23-cv-00353-CWR-FKB       Smith v. Parole Board - MDOC
3:23-cv-00363-DPJ-FKB       Denley et al v. University of Mississippi Medical Center et al
3:23-cv-00374-DPJ-FKB       Jenkins et al v. Rankin County, Mississippi et al
3:23-cv-00385-CWR-FKB       Hubbard v. Sollie
3:23-cv-00389-CWR-FKB       Burroughs v. Batiste et al
3:23-cv-00401-DPJ-FKB       Quintero-Diarte v. Warden, FCI Yazoo City Low
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3:23-cv-00406-DPJ-FKB    Scott v. State of Mississippi
3:23-cv-00407-DPJ-FKB    Shorter v. Doe
3:23-cv-00410-DPJ-FKB    Tri-State Truck Center, Inc. v. Safeway Transport, LLC et al
3:23-cv-00411-DPJ-FKB    Allbritton v. Miller Pipeline, LLC
3:23-cv-00422-CWR-FKB    Stuart C. Irby Company v. A-1 Service LLC et al
3:23-cv-00426-DPJ-FKB    Black v. MS Department of Rehab Serv.,et al
3:23-cv-00428-DPJ-FKB    Carey v. MS Regional Housing Authority V
3:23-cv-00438-DPJ-FKB    Vaughn v. RXO Managed Transport, LLC
3:23-cv-00456-DPJ-FKB    Robinson et al v. Bridgewater Owners Association, Inc.
3:23-cv-00465-DPJ-FKB    Jones v. Wal-Mart Stores, Inc. et al
3:23-cv-00469-CWR-FKB    Harris v. Warden
3:23-cv-00472-DPJ-FKB    Lewis v. Fusio Medical Devices, LLC et al
3:23-cv-00487-DPJ-FKB    Dye et al v. Dreamauto Logistics, Inc. et al
3:23-cv-00491-CWR-FKB    Branson et al v. State Farm Fire and Casualty Company
3:23-cv-00492-DPJ-FKB    Moree v. Kroger Limited Partnership I, et al
3:23-cv-00500-DPJ-FKB    Russell v. City of Lexington et al
3:23-cv-00504-DPJ-FKB    Ford v. Commissioner of Social Security
3:23-cv-00505-CWR-FKB    Obeid v. Tomaszewicz et al
3:23-cv-00516-DPJ-FKB    Shields v. Mississippi Department of Corrections et al
3:23-cv-00525-CWR-FKB    Vicksburg Healthcare, LLC v. KPC Promise Hospital , LLC et al
3:23-cv-00527-DPJ-FKB    Nuby v. Joedy Pennington
3:23-cv-00531-DPJ-FKB    Bridget v. Cain et al
3:23-cv-00533-DPJ-FKB     Robertson v. U. S. Depart. of Agriculture Forest Service
3:23-cv-00543-CWR-FKB    Franklin v. Mississippi State Department of Health
3:23-cv-00544-DPJ-FKB    Arthur et al v. City of Jackson et al
3:23-cv-00545-DPJ-FKB    Ingram et al v. The City of Jackson et al
3:23-cv-00546-DPJ-FKB    Rigby et al v. The City of Jackson et al
3:23-cv-00548-FKB        Patrick v. Commissioner of Social Security et al
3:23-cv-00552-TSL-FKB    Hartwell v. Cain
3:23-cv-00554-TSL-FKB    Herrin v. The United States of America
3:23-cv-00555-CWR-FKB    Davis v. M.T.C. et al
3:23-cv-00558-DPJ-FKB    Hollins v. Sistrunk et al
3:23-cv-00559-DPJ-FKB    Lamonte v. Medical Staff
3:23-cv-00565-KHJ-FKB    Harrell v. Commissioner of Social Security
3:23-cv-00570-DPJ-FKB    Williams v. Wal-mart Stores East, LP et al
3:23-cv-00576-DPJ-FKB    Grover v. Wormuth
3:23-cv-00580-CWR-FKB    Green v. State Farm Fire and Casualty Company, Inc.
3:23-cv-00582-CWR-FKB    Mackey v. Airbnb, Inc. et al
3:23-cv-00585-DPJ-FKB    Joiner v. King et al
3:23-cv-00588-HTW-FKB    Smith v. Hatchett et al
3:23-cv-00589-DPJ-FKB    Robinson v. Trisura Specialty Insurance Company
3:23-cv-00590-DPJ-FKB    Lester v. Michaels Stores, Inc. et al
3:23-cv-00602-CWR-FKB    Nuby v. Pennington
3:23-cv-00605-DPJ-FKB    Davis v. Prudential Insurance Agency LLC
3:23-cv-00609-CWR-FKB    Fultz et al v. Maclin et al
3:23-cv-02956-DPJ-FKB    Evans v. ISD Renal, Inc.
3:23-cv-02961-DPJ-FKB    Bracey v. Big 10 Tire Co., Inc.
3:23-cv-02975-DPJ-FKB    McGee v. Target Enterprise, Inc. et al
3:23-cv-02976-DPJ-FKB    Langston v. Wal-Mart Associates, Inc.
3:23-cv-02977-DPJ-FKB    Mythics, LLC v. The City of Jackson, Mississippi
3:23-cv-02995-CWR-FKB    Nason v. SFR3 LLC et al
3:23-cv-02998-CWR-FKB    Kathleen Loveall v. United States of America
3:23-cv-03003-DPJ-FKB    Gardner v. Sollie
3:23-cv-03008-DPJ-FKB    Utley v. Lauderdale County, Ms et al
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3:23-cv-03013-CWR-FKB    Eddings v. Hill et al
3:23-cv-03015-DCB-FKB    Prewitt v. McDaniel
3:23-cv-03022-DPJ-FKB    Lingo v. Yazoo River Towing, Inc. et al
3:23-cv-03028-DPJ-FKB    Tillman v. Mike Lee
3:23-cv-03031-DPJ-FKB    McGee v. The Scott County Sheriff Department
3:23-cv-03033-FKB        Page v. Commissioner of Social Security
3:23-cv-03034-DPJ-FKB    Becker Contractor Services, Inc. v. Quiktrip Corp., et al
3:23-cv-03035-CWR-FKB    Campbell v. Sollie
3:23-cv-03040-DPJ-FKB    Toole v. Riley Healthcare, LLC
3:23-cv-03043-DPJ-FKB     Darden v. Murphy Oil USA, Inc. et al
3:23-cv-03052-DPJ-FKB    Pitter v. Baysore
3:23-cv-03055-DPJ-FKB    Mackey v. Mississippi Community College Board
3:23-cv-03057-CWR-FKB    Johnson v. Mississippi Emergency Man. Agency et al
3:23-cv-03058-DPJ-FKB    Carabalz v. Ping
3:23-cv-03061-DPJ-FKB    Cifuentes v. Ping
3:23-cv-03071-DPJ-FKB    Shelton v. Kroger Limited Partnership I et al
3:23-cv-03076-CWR-FKB    Rice v. McDonough
3:23-cv-03079-DPJ-FKB    Guerra-Vinales v. Colbert
3:23-cv-03081-DPJ-FKB    Collins v. Bradford et al
3:23-cv-03082-CWR-FKB    Taylor v. Markham et al
3:23-cv-03086-DPJ-FKB    Youngblood v. Baysore et al
3:23-cv-03094-CWR-FKB    Evans v. Biewer Lumber, LLC
3:23-cv-03101-CWR-FKB    Walker v. Smith County School District
3:23-cv-03109-DPJ-FKB    King v. Jackson Public School District
3:23-cv-03112-CWR-FKB    Fowler v. Colbert
3:23-cv-03113-CWR-FKB    Pauliah v. University of Mississippi Medical Center et al
3:23-cv-03114-DPJ-FKB    Frazier v. Texas Farm Bureau Underwriters
3:23-cv-03117-DPJ-FKB    Sanders v. Burge et al
3:23-cv-03120-CWR-FKB    Abdul-Ali v. Garland et al
3:23-cv-03124-CWR-FKB    Espinal v. Ping
3:23-cv-03127-DPJ-FKB    Stuart C. Irby Company v. KDEM LLC et al
3:23-cv-03132-TSL-FKB    Smith v. Wal-Mart Stores East, LP et al
3:23-cv-03134-DPJ-FKB    Norwood et al v. City of Jackson, Mississippi et al
3:23-cv-03136-DPJ-FKB    Birchfield v. Warden, FCI Yazoo City Low I
3:23-cv-03137-CWR-FKB    Coleman v. Dollar General Corporation et al
3:23-cv-03141-CWR-FKB    Osborn v. Region 8 MH-MR
3:23-cv-03148-CWR-FKB    Trim v. Madison HMA, LLC et al
3:23-cv-03150-DPJ-FKB    Scott v. Doe
3:23-cv-03152-DPJ-FKB    Dorsey v. Manhattan Nursing and Rehabilitation Center, LLC et al
3:23-cv-03154-DPJ-FKB    Bassett v. Gray Media Group, Inc.
3:23-cv-03162-CWR-FKB    McGee v. Dolgencorp, LLC
3:23-cv-03163-DPJ-FKB    Helena Agri-Enterprises, LLC v. Woodard
3:23-cv-03164-DPJ-FKB    Gorney v. General Motors, LLC
3:23-cv-03167-DPJ-FKB    Harris v. Benchmark Insurance Company et al
3:23-cv-03168-DPJ-FKB    Godbolt v. Hinds County, Mississippi et al
3:23-cv-03170-DPJ-FKB    Hampton v. Moore
3:23-cv-03172-TSL-FKB    TCP Block I South, LLC v. Lynch et al
3:23-cv-03179-DPJ-FKB    Hafner v. Reeves et al
3:23-cv-03180-DPJ-FKB    Crawford v. Experian Information Solutions, Inc.
3:23-mc-00397-DPJ-FKB    Sealed Plaintiff v. Sealed Defendant
3:24-cv-00005-DPJ-FKB    Quarles v. Loomis Armoured
3:24-cv-00007-CWR-FKB    Al Ammari et al v. Department of State et al
3:24-cv-00008-DPJ-FKB    Gray v. Progressive Gulf Insurance Company
3:24-cv-00012-CWR-FKB    Jenkins v. Commissioner of Social Security
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3:24-cv-00013-DPJ-FKB    Sandidge v. State Farm Mut. Automobile Ins. Co.
3:24-cv-00015-CWR-FKB    Weathersby v. LexisNexis Risk Solutions Inc. et al
3:24-cv-00019-DPJ-FKB    Unicorp, LLC v. MacSouth Forest Products, LLC
3:24-cv-00020-CWR-FKB    Laster et al v. Rankin County School District
3:24-cv-00023-DPJ-FKB    Jackson Multifamily Holding, LLC v. The Estates at White Oaks
3:24-cv-00025-DPJ-FKB    Guthrie v. Kroger Limited Partnership I
3:24-cv-00029-DPJ-FKB    McGowan v. Tougaloo College
3:24-cv-00030-DPJ-FKB    Hines v. City of Jackson, Mississippi et al
3:24-cv-00033-CWR-FKB    Whitcomb v. Kemper County, Mississippi
3:24-cv-00035-DPJ-FKB    Hill v. Irby Construction Company
3:24-cv-00036-DPJ-FKB    Lucear v. Watson
3:24-cv-00044-DPJ-FKB    Bedwell v. K&B Transport, Inc. et al
3:24-cv-00045-DPJ-FKB    Wilson v. Cain et al
3:24-cv-00053-DPJ-FKB    McQuiller v. Colbert
3:24-cv-00060-CWR-FKB    United States of America v. One (1) Sarsilmaz (SAR Arms) Pistol
3:24-cv-00065-DPJ-FKB    Alexander v. Cox et al
3:24-cv-00067-CWR-FKB    Thomas v. Warden
3:24-cv-00070-DPJ-FKB    Jones v. Heyl Truck Lines, Inc.
3:24-cv-00073-DPJ-FKB    Fuller v. Kasai North America
3:24-cv-00074-DPJ-FKB    Hemphill v. Horne, LLP
3:24-cv-00075-CWR-FKB    A-1 Freight Systems v. Coountryboy Trucking, LLC
3:24-cv-00076-TSL-FKB    Brown et al v. Mississippi Department of Public Safety et al
3:24-cv-00079-DPJ-FKB    Blue Hill Spec. Ins. Co. v. Southern Magnolia Transport, LLC
3:24-cv-00081-CWR-FKB    Sealed Plaintiff v. Sealed Defendant
3:24-cv-00084-DPJ-FKB    Cleveland MHC, LLC v. Legacy Housing Corp. et al
3:24-cv-00085-CWR-FKB    Porter et al v. Rankin County, Mississippi et al
3:24-cv-00087-CWR-FKB    Holifield v. Signature Insurance Agency et al
3:24-cv-00088-DPJ-FKB    Holloman v. Shelman-Goetsch et al
3:24-cv-00095-DPJ-FKB    Sona, Inc. v. Skyward Specialty Insurance Group, Inc.
3:24-cv-00099-DPJ-FKB    Anunobi v. One Source Technology, LLC
3:24-cv-00100-DPJ-FKB    Neal v. UMB Bank, National Association et al
3:24-cv-00104-CWR-FKB    Tri-State Ins. Co. of Minnesota v. Pacific Bay Investments, Inc.
3:24-cv-00109-CWR-FKB    Baker v. Colbert et al
3:24-cv-00112-CWR-FKB    Clincy et al v. Waste Pro of Mississippi, Inc. et al
3:24-cv-00114-DPJ-FKB    Pickens v. Jones et al
3:24-cv-00115-CWR-FKB    Gr. New Hamilton Grv Bap Church v. Hamilton Grv MB Church et al
3:24-cv-00118-DPJ-FKB    Tillman v. Scott County Sheriff Department et al
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                              Exhibit B
Case                          Style
3:03-cr-00136-CWR-FKB         USA v.   Hernandez, et al
3:04-cr-00184-KHJ-FKB         USA v.   Vargas
3:05-cr-00032-HTW-FKB         USA v.   Sealed Defendant
3:07-cr-00166-DPJ-FKB         USA v.   Pascual, et al
3:14-cr-00065-TSL-FKB         USA v.   Ellis
3:14-cr-00099-CWR-FKB         USA v.   Castillo-Estrada
3:14-cr-00124-TSL-FKB         USA v.   Flinn
3:17-cr-00010-KHJ-FKB         USA v.   Larry
3:17-cr-00072-CWR-FKB         USA v.   Townsend
3:17-cr-00099-HTW-FKB         USA v.   Shearer, et al
3:19-cr-00070-DPJ-FKB         USA v.   Gaba, et al
3:19-cr-00070-DPJ-FKB         USA v.   Madaan, et al
3:19-cr-00117-CWR-FKB         USA v.   Garzon-Guillermo
3:19-cr-00184-DPJ-FKB         USA v.   Gonzalez-Palacios
3:19-cr-00242-DPJ-FKB         USA v.   Sealed Defendant
3:19-cr-00246-CWR-FKB         USA v.   Sealed Defendant
3:19-cr-00249-HTW-FKB         USA v.   Lopez-Domingo
3:19-cr-00251-HTW-FKB         USA v.   Lopez-Perez
3:20-cr-00011-CWR-FKB         USA v.   Sessums
3:20-cr-00037-TSL-FKB         USA v.   Neal, et al
3:20-cr-00111-TSL-FKB         USA v.   Sealed Defendant
3:20-cr-00124-HTW-FKB         USA v.   Sealed Defendant
3:20-cr-00130-DPJ-FKB         USA v.   Hearron
3:20-cr-00150-TSL-FKB         USA v.   McAbee
3:21-cr-00008-DPJ-FKB         USA v.   Guice
3:21-cr-00009-HTW-FKB         USA v.   Guice
3:21-cr-00011-HTW-FKB         USA v.   Davis, et al
3:21-cr-00026-CWR-FKB         USA v.   Merrill
3:21-cr-00028-CWR-FKB         USA v.   New, et al
3:21-cr-00032-KHJ-FKB         USA v.   Ledbetter
3:21-cr-00045-KHJ-FKB         USA v.   McCroy
3:21-cr-00052-HTW-FKB         USA v.   Poisso
3:21-cr-00053-HTW-FKB         USA v.   Houston
3:21-cr-00064-CWR-FKB         USA v.   Reece
3:21-cr-00067-CWR-FKB         USA v.   Wallace
3:21-cr-00085-TSL-FKB         USA v.   Neal
3:21-cr-00096-HTW-FKB         USA v.   McAlister
3:21-cr-00103-CWR-FKB         USA v.   Duke
3:21-cr-00118-HTW-FKB         USA v.   Davis, et al
3:21-cr-00123-TSL-FKB         USA v.   Jimoh
3:21-cr-00124-HTW-FKB         USA v.   Roby
3:21-cr-00130-HTW-FKB         USA v.   Warnock, et al
3:21-cr-00131-DPJ-FKB         USA v.   Blake
3:22-cr-00008-DPJ-FKB         USA v.   McGriggs
3:22-cr-00031-KHJ-FKB         USA v.   Mayfield
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3:22-cr-00032-HTW-FKB         USA v.   Tubby
3:22-cr-00036-TSL-FKB         USA v.   Douglas, et al
3:22-cr-00045-CWR-FKB         USA v.   Bourrage, et al
3:22-cr-00047-KHJ-FKB         USA v.   Givens, et al
3:22-cr-00048-KHJ-FKB         USA v.   Howard
3:22-cr-00053-CWR-FKB         USA v.   New
3:22-cr-00071-DPJ-FKB         USA v.   Terrell
3:22-cr-00072-DPJ-FKB         USA v.   Wilson
3:22-cr-00073-DPJ-FKB         USA v.   Harper
3:22-cr-00078-HTW-FKB         USA v.   Gonzales
3:22-cr-00089-CWR-FKB         USA v.   Willis
3:22-cr-00090-HTW-FKB         USA v.   Wallace
3:22-cr-00100-DPJ-FKB         USA v.   McCray
3:22-cr-00102-DCB-FKB         USA v.   Howard
3:22-cr-00104-CWR-FKB         USA v.   Davis
3:22-cr-00106-DPJ-FKB         USA v.   Henry
3:22-cr-00108-CWR-FKB         USA v.   McElroy
3:22-cr-00109-DPJ-FKB         USA v.   GRASSAREE
3:22-cr-00114-HTW-FKB         USA v.   Burse
3:22-cr-00116-DPJ-FKB         USA v.   Phillips
3:22-cr-00125-DPJ-FKB         USA v.   Cobbs
3:22-cr-00126-DPJ-FKB         USA v.   Cobbs
3:23-cr-00005-CWR-FKB         USA v.   Peterson
3:23-cr-00010-HTW-FKB         USA v.   Lewis
3:23-cr-00014-CWR-FKB         USA v.   Dibiase
3:23-cr-00016-HTW-FKB         USA v.   Wolfe
3:23-cr-00021-CWR-FKB         USA v.   Webb
3:23-cr-00023-DPJ-FKB         USA v.   Farve
3:23-cr-00031-DPJ-FKB         USA v.   Sealed Defendant
3:23-cr-00032-DPJ-FKB         USA v.   Spivey
3:23-cr-00035-CWR-FKB         USA v.   Dibiase
3:23-cr-00036-HTW-FKB         USA v.   Rollins
3:23-cr-00041-KHJ-FKB         USA v.   Smith
3:23-cr-00046-DPJ-FKB         USA v.   Troncoso-Garrido
3:23-cr-00049-CWR-FKB         USA v.   Mayes
3:23-cr-00056-TSL-FKB         USA v.   Jim
3:23-cr-00058-KHJ-FKB         USA v.   Thomas
3:23-cr-00059-DPJ-FKB         USA v.   Sealed Defendant
3:23-cr-00065-HTW-FKB         USA v.   Floyd
3:23-cr-00067-DPJ-FKB         USA v.   Hunter, et al
3:23-cr-00068-CWR-FKB         USA v.   Alford
3:23-cr-00070-CWR-FKB         USA v.   Watson
3:23-cr-00072-DPJ-FKB         USA v.   Gardner, et al
3:23-cr-00075-HTW-FKB         USA v.   Moore
3:23-cr-00076-DPJ-FKB         USA v.   Lee
3:23-cr-00078-DCB-FKB         USA v.   Murray
3:23-cr-00080-HTW-FKB         USA v.   Murray
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3:23-cr-00081-HTW-FKB         USA v.   Chapala
3:23-cr-00087-KHJ-FKB         USA v.   Howard
3:23-cr-00091-DPJ-FKB         USA v.   Dennis
3:23-cr-00093-HTW-FKB         USA v.   Brown
3:23-cr-00095-DCB-FKB         USA v.   Jones
3:23-cr-00096-TSL-FKB         USA v.   McDougal
3:23-cr-00099-HTW-FKB         USA v.   Reese
3:23-cr-00100-DCB-FKB         USA v.   Bass
3:23-cr-00106-HTW-FKB         USA v.   Terrell
3:23-cr-00107-DCB-FKB         USA v.   Lee
3:23-cr-00108-DPJ-FKB         USA v.   Freeman, et al
3:23-cr-00109-DCB-FKB         USA v.   Sealed Defendant
3:23-cr-00115-HTW-FKB         USA v.   Sealed Defendant
3:23-cr-00116-CWR-FKB         USA v.   Sealed Defendant
3:23-cr-00117-HTW-FKB         USA v.   Marcus Tremaine Powell, et al
3:23-cr-00118-HTW-FKB         USA v.   Kendricks, et al
3:23-cr-00119-DPJ-FKB         USA v.   Troncoso-Garrido
3:23-cr-00122-HTW-FKB         USA v.   Smith, et al
3:23-cr-00123-CWR-FKB         USA v.   Sealed Defendant
3:23-cr-00126-CWR-FKB         USA v.   Ruffin
3:24-cr-00001-HTW-FKB         USA v.   Trimm
3:24-cr-00002-DPJ-FKB         USA v.   Robinson
3:24-cr-00003-CWR-FKB         USA v.   Clemons
3:24-cr-00006-DPJ-FKB         USA v.   Scott
3:24-cr-00007-KHJ-FKB         USA v.   McField
3:24-cr-00010-KHJ-FKB         USA v.   Thomas
3:24-cr-00012-CWR-FKB         USA v.   Sealed Defendant
3:24-cr-00016-HTW-FKB         USA v.   Parker
3:24-cr-00017-DPJ-FKB         USA v.   Weston
3:24-cr-00018-KHJ-FKB         USA v.   White
3:24-cr-00019-KHJ-FKB         USA v.   Barron
3:24-cr-00020-KHJ-FKB         USA v.   Lawrence
3:23-mj-00659-FKB             USA v.   Sealed Defendant
